                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                              LYNCHBURG DIVISION


John Doe,
                                                           Civil Action No:
       Plaintiff,                                          6:14-cv-0052-NKM

   -against-                                               Plaintiff’s Motion for
                                                           Leave to File First
Washington and Lee University,                             Amended Complaint

       Defendant.



               COMES NOW the plaintiff, by counsel, and with the consent of the

defendant, moves for leave to file his First Amended Complaint which is attached as an

exhibit to this motion.

                                              John Doe

                                              S/ G. Robert Gage, Jr.
                                              Of Counsel

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                                         Certificate

              I hereby certify that on March 20, 2015, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such

filing to the following: R. Craig Wood, Esquire.

                                                   S/ G. Robert Gage, Jr.




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